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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

MERCION C. FREEMAN,                            §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §       CIVIL ACTION No. 4:21-CV-1009-P-BP
                                               §
NATIONAL CREDIT SYSTEMS,                       §
                                               §
       Defendant.                              §

                FINDINGS, CONCLUSIONS AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE

       In this case, Plaintiff has filed a civil case with a motion for leave to proceed in forma

pauperis. Resolution of the motion was referred to the United States Magistrate Judge pursuant to

the provisions of 28 U.S.C. § 636(b) and Special Order No. 3. The findings, conclusions and

recommendation of the United States Magistrate Judge are as follows:

                               FINDINGS AND CONCLUSIONS:

       A.      NATURE OF THE CASE

       This case is a new civil action.

       B.      PARTIES

       Mercion C. Freeman is the plaintiff. The defendant is listed as National Credit Systems.

       C.      LEGAL ANALYSIS

       Plaintiff initially filed a short form in forma pauperis application, but as he merely scribbled

the phrase “NA” across all of the sections of that form, the Court issued an Order and Notice of

Deficiency directing Plaintiff to complete and file a long-form motion to proceed in forma

pauperis. ECF No. 7. That order informed Plaintiff that he had to provide complete and accurate
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answers to all of the sections of the long form. Id. Plaintiff Freeman has now filed a long form in

forma pauperis motion/application. ECF No. 8. Upon review of the contents of the completed

motion/application, however, the answer provided to every question was “0.” Plaintiff Freeman

provided absolutely no responsive information about his income, assets, bank accounts, or

expenses. See id. And, to the question about providing additional information, he responded only

“I [illegible] rights of indigenous people. Article 4 indigency people have the right to autonomy

or self government.” Id. at 5. Because the IFP applications submitted by Freeman do not provide

any information sufficient to enable the Court to make a determination as to whether he qualifies

as a pauper under 28 U.S.C. § 1915(a)(1)--that is “an affidavit that includes a statement of all assets

. . . [and] that the person is unable to pay such fees or give security therefor”--the

motions/applications to proceed in forma pauperis must be denied.

                                       RECOMMENDATION

        It is therefore RECOMMENDED that United States District Judge Mark T. Pittman

DENY Plaintiff’s motions to proceed in forma pauperis (ECF Nos. 2, 8).

        It is further RECOMMENDED that Judge Pittman inform Plaintiff that the complaint will

be subject to dismissal without further notice under Federal Rule of Civil Procedure 41(b) unless

Plaintiff pays to the clerk of Court the filing and administrative fees of $402.001 within seven (7)

days after his order.




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         In addition to the filing fee of $350, the District Court Miscellaneous Fee Schedule requires
payment of an administrative fee for filing a civil action in district court of $52. See 28 U.S.C.§ 1914(a)
and District Court Miscellaneous Fee Schedule, note 14.




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   NOTICE OF RIGHT TO OBJECT TO PROPOSED FINDINGS, CONCLUSIONS, AND
      RECOMMENDATION AND CONSEQUENCES OF FAILURE TO OBJECT

       A copy of these findings, conclusions, and recommendation shall be served on all parties

in the manner provided by law. Under 28 U.S.C. § 636(b)(1), each party to this action has the right

to serve and file specific written objections in the United States District Court to the United States

Magistrate Judge’s proposed findings, conclusions, and recommendation within fourteen (14) days

after the party has been served with a copy of this document. The United States District Judge need

only make a de novo determination of those portions of the United States Magistrate Judge’s

proposed findings, conclusions, and recommendation to which specific objection is timely made.

See 28 U.S.C. § 636(b)(1). Failure to file by the date stated above a specific written objection to a

proposed factual finding or legal conclusion will bar a party, except upon grounds of plain error

or manifest injustice, from attacking on appeal any such proposed factual findings and legal

conclusions accepted by the United States District Judge. See Douglass v. United Servs. Auto

Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc), superseded by statute 28 U.S.C. §

636(b)(1) (extending the deadline to file objections from ten to fourteen days).

       It is further ORDERED that the above-styled and numbered action, previously referred to

the undersigned for findings, conclusions, and recommendation, be and is hereby, RETURNED

to the docket of the United States District Judge.

       SIGNED on September 30, 2021.




                                                      Hal R. Ray, Jr.
                                                      UNITED STATES MAGISTRATE JUDGE




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